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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )              No.     3:13-00097-3
               v.                                    )
                                                     )              Judge Sharp
RASHAD WOODSIDE                                      )

          MOTION ATTACHING EXHIBIT 1 APPEALING RELEASE ORDER

       The United States, through Acting United States Attorney David Rivera and Assistant

United States Attorney Brent A. Hannafan, hereby submits what should have been attached as

Exhibit 1 to the Motion appealing the order of Magistrate Judge Jonathan Goodman of the

Southern District of Florida. What should have been attached as Exhibit 1 to that Motion (Docket

No. 157) was a collective exhibit of Docket Entries Nos. 5, 6, 7, 8, 9, and 10 in the proceedings

before Judge Goodman. That Exhibit is attached to this Motion as Exhibit 1. The undersigned

apologizes to the Court for the filing error.



                                                             Respectfully submitted,

                                                             DAVID RIVERA
                                                             Acting United States Attorney for the
                                                             Middle District of Tennessee

                                                             BY:     s/Brent A. Hannafan
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